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                UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION



Eric Berger and Jason Lond-
rigan, individually and on be-
half of all others similarly sit-
                                        Case No. _________________
uated,


              Plaintiffs,

                                        JURY TRIAL DEMANDED
         v.


The Home Depot U.S.A., Inc.,


              Defendant.



                    CLASS ACTION COMPLAINT

        Plaintiffs Eric Berger and Jason Londrigan, individually and on

behalf of all others similarly situated, bring this action against The

Home Depot U.S.A., Inc. (“Home Depot”). In support, they allege as fol-

lows.

        I.    Introduction

        1.    This is an action against Home Depot for false-reference

pricing on its website, www.homedepot.com (the “Website”). False-ref-

erence pricing occurs when a seller advertises a fictitious or outdated

“original” price for a product while offering that product at a

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substantially lower price under the guise of a sale. The resulting artifi-

cial price disparity misleads consumers into believing that the product

they are buying has a higher market value than the price offered,

thereby inducing them into purchasing the product at what appears to

be a “bargain.” This conduct artificially increases demand for the de-

ceptively priced products and induces customers to pay more based on

a false impression of their value. False-reference pricing schemes

thereby enable retailers like Home Depot to sell products above their

true market price and value—to the detriment of consumers.

      2.    Home Depot has perpetrated, and continues to perpetrate,

a false-reference pricing scheme on a massive scale. Georgia and federal

law specifically prohibit this type of false advertising. Georgia’s Fair

Business Practices Act prohibits “mak[ing] false or misleading state-

ments of fact concerning the reasons for, existence of, or amounts of

price reductions.”1 The Georgia Attorney General’s Consumer Protec-

tion Division notes that “[u]nlawful activities that are prohibited by the

Fair Business Practices Act include . . . [m]aking false or misleading

statements about sale prices,” such as advertising an item for sale when




      1 O.C.G.A. § 10-1-393(b)(11).




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that item “has been offered at that price for the past month.”2 Similarly,

the Federal Trade Commission’s Guide Against Deceptive Pricing

states that “where an artificial, inflated price was established for the

purpose of enabling the subsequent offer of a large reduction[,] the ‘bar-

gain’ being advertised is a false one; the purchaser is not receiving the

unusual value he expects.”3

      3.    Home Depot willfully violated the Georgia Code by adver-

tising items as discounted despite the fact these items had not been

readily available for purchase at the purported original price for more

than three months or, in many cases, had never been offered at the pur-

ported original price. The Plaintiffs, Eric Berger and Jason Londrigan,

purchased such products in reliance on Home Depot’s misleading ad-

vertising, motivated by the false belief that they were getting bargains.

Numerous other Home Depot customers did the same. The Plaintiffs

therefore bring this action on behalf of themselves and all other natural

persons similarly situated who have purchased one or more products




      2 Georgia Attorney General’s Consumer Protection Division, Stat-

utes We Enforce, available at: https://consumer.georgia.gov/organiza-
tion/about-us/statutes-we-enforce.
      3 16 C.F.R. § 233.1.




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through the Website that were deceptively represented as discounted

from a false-reference price.

      II.     Parties

      4.      Plaintiff Eric Berger is an individual citizen of the State of

Texas and resident of Harris County, Texas.

      5.      Plaintiff Jason Londrigan is an individual citizen of the

State of Texas and resident of Tarrant County, Texas.

      6.      Defendant Home Depot is a Delaware corporation with its

headquarters in Atlanta, Georgia.

      III.    Jurisdiction & Venue

      7.      This Court has original jurisdiction over this action pursu-

ant to the Class Action Fairness Act.4 The amount in controversy, ex-

clusive of interest and costs, exceeds the sum of $5,000,000.00 and at

least some members of the proposed class (defined below) have a differ-

ent citizenship than the Defendant. The proposed class consists of at

least 100 members and none of the exceptions under § 1332 apply to

this claim.

      8.      Home Depot has its corporate headquarters in Atlanta,

Georgia, and is thus subject to general personal jurisdiction in this




      4 28 U.S.C. § 1332(d)(2).




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district. This district is an appropriate venue for this action because a

substantial part of the events giving rise to the claims at issue occurred

at Home Depot’s headquarters here.5

      IV.   Factual Allegations

      9.    Home Depot is the world’s largest home-improvement re-

tailer, operating more than 2,000 physical stores across North America.

Its 2022 revenue from sales to United States consumers was $1.53 bil-

lion. Approximately fourteen percent of those revenues were attributa-

ble to online purchases on the Website.

      10.   As detailed below, Home Depot has engaged in a massive

consumer-deception campaign through its use of false-reference pricing

practices, to the detriment of the Plaintiffs and the proposed class.

Home Depot listed numerous products on its website at false-reference

prices for many months on end, creating the false impression of bar-

gains and artificially inflating the prices of its products.

            A.     Home Depot’s Motivations

      11.   False-reference pricing schemes are highly profitable. Con-

sumers frequently lack fundamental information about a product and

as a result often rely on information from sellers to make purchasing




      5 28 U.S.C. § 1391(b)(1)-(2).




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decisions, especially when a product’s value or quality is otherwise dif-

ficult to discern.

      12.    False-reference pricing schemes take advantage of several

well-document aspects of consumer psychology. First, consumers view

a product’s price as an indicator of that product’s quality. Accordingly,

advertising a product at a fictitious or outdated “false reference” price

creates an artificially inflated impression of the product’s quality, caus-

ing consumers to believe they are purchasing a higher-grade product.

      13.    Second, an indication that a product is being sold at a price

lower than a higher “reference price” creates the impression that there

is a “bargain” or “deal” to be had. Studies have repeatedly shown that

the experience of obtaining a product at a perceived bargain is valuable

to consumers—and that the fleeting nature of such bargains creates a

sense of urgency, causing consumers to make purchases that they

would not otherwise make.

      14.    Third, it is well-known that consumer demand can be influ-

enced by both “internal” and “external” reference prices. Internal-refer-

ence prices are prices stored in a consumer’s memory, while external-

reference prices are provided by the observed stimuli in the purchase

environment. Researchers report that consumers’ internal reference

prices adjust toward external reference prices when valuing a product.


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This is especially true for products purchased infrequently, like the

large appliances purchased by the Plaintiffs and numerous members of

the proposed class. Because consumers have relatively few internal

price references for these products, the deceptive potential of false-ref-

erence prices is much greater.

      15.   Home Depot understood that for all these reasons, consum-

ers are vulnerable to perceived bargains. It thus had substantial finan-

cial interest in exploiting these tendencies by inducing consumers into

believing they were receiving bargains even when they were not. It did

so on a large scale by engaging in false-reference pricing on the Website.

            B.    Home Depot’s False-Reference Pricing Scheme

      16.   On the Website, Home Depot advertises purportedly “dis-

counted” items for sale. Product listings display the purportedly “dis-

counted” price on the left in black and the original price on the right,

crossed out, and in a small font. The total “savings” appear below the

crossed-out original price, in green. An example is as follows.




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      17.   Investigation has revealed that Home Depot advertised nu-

merous products with misleading “strikethrough” false-reference prices

on its website for months on end. Numerous products were never sold

at their purported original price—while others were listed at false-ref-

erence “discount” prices for many months on end. Documentation of

nine such product listings is set out in Appendix 1 to this Complaint.6

      18.   Plaintiff Eric Berger purchased one of the products that

Home Depot listed with a misleading false-reference price. Mr. Berger

purchased a Samsung Front Load Gas Dryer from the Website in No-

vember 2023 at a price of $798.00. The unit was advertised at a pur-

ported thirty-three percent discount from its “strikethrough” price of

$1,199.00. But the dryer Mr. Berger purchased had been listed at vari-

ous “sale” prices far below the $1,199.00 strikethrough price since at

least September 2023. The long-advertised “discount” on the dryer Mr.

Berger purchased induced him to purchase the product, and the artifi-

cial demand created by Home Depot’s false-reference pricing scheme

caused him to pay more than he would have otherwise.




      6 The product listings reflected in Appendix 1 are expressly made

a part of this Complaint’s factual allegations, as if fully set out in this
section.


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      19.    Plaintiff Jason Londrigan purchased another of the prod-

ucts that Home Depot listed with a misleading false-reference price.

Mr. Londrigan purchased a Samsung Top-Load Washer from the Web-

site in September 2023 at a price of $578.00. The unit was advertised

at a purported thirty-five percent discount from its “strikethrough”

price of $899.00. But, on information and belief, the washer Mr. Lond-

rigan purchased had been listed at various “sale” prices far below the

$899.00 strikethrough price for many months prior. In the seven

months since Mr. Londrigan’s purchase, this washer has never been

sold at its “original” price—with “discount” prices ranging from $550.00

to just over $800.00. The long-advertised “discount” on the dryer

Mr. Londrigan purchased induced him to purchase the product, and the

artificial demand created by Home Depot’s false-reference pricing

scheme caused him to pay more than he would have otherwise.

      20.    The only plausible explanation for Home Depot’s false-ref-

erence pricing practices is to drive sales, artificially inflate the price at

which consumers are willing to buy its products, and, as a result, arti-

ficially inflate the price at which consumers are willing to buy their

products. Home Depot has, and without intervention will continue to,

increase sales by creating the illusion of short-lived bargains by pur-

porting to offer products on sale from false original prices.


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      V.    Class Allegations

      21.   Plaintiffs bring this action on behalf of themselves and all

other similarly situated class members pursuant to Federal Rules of

Civil Procedure 23(a), (b)(2), and (b)(3). They seek certification of the

following Class in this matter:

      All persons who, within the applicable statutory period (the
      “Class Period”), purchased from www.thehomedepot.com
      one or more products at discounts from an advertised refer-
      ence price and who have not received a refund or credit for
      their purchase(s).

      22.   Excluded from the Class are Home Depot, as well as its of-

ficers, employees, agents or affiliates, parent companies and/or subsid-

iaries, and each of their respective officers, employees, agents or affili-

ates, and any judge who presides over this action. Plaintiffs reserve the

right to expand, limit, modify, or amend this Class definition, including

the addition of one or more subclasses, in connection with her motion

for class certification, or at any other time, based upon, inter alia,

changing circumstances and/or new facts obtained during discovery.

      23.   Numerosity. Members of the Class are so numerous that

joinder of all members is impracticable. Plaintiffs are informed and be-

lieve that the proposed Class contains at least thousands of individuals

who have been damaged by Defendants’ conduct as alleged herein. The

precise number of Class members is unknown to Plaintiffs at this time,


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but Plaintiffs expect it can readily be established through Defendants’

records.

      24.     Commonality & Predominance. This action involves

common questions of law and fact, which predominate over any ques-

tions affecting individual Class members. These common legal and fac-

tual questions include, but are not limited to, the following:

           a. whether, during the Class Period, Home Depot used adver-

              tised false reference prices on products sold through the

              Website;

           b. whether, during the Class Period, the original price adver-

              tised by Home Depot was the prevailing market price for

              the products in question during the three months period

              preceding the dissemination and/or publication of the ad-

              vertised former prices;

           c. whether Home Depot’s alleged conduct constitutes viola-

              tions of the laws asserted;

           d. whether Home Depot engaged in unfair, unlawful and/or

              fraudulent business practices under the laws asserted;

           e. whether Home Depot engaged in false or misleading adver-

              tising;




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         f. whether Plaintiffs and Class members are entitled to dam-

            ages and/or restitution and the proper measure of that loss;

         g. whether an injunction is necessary to prevent Home Depot

            from continuing to use false, misleading or illegal price

            comparison, and;

         h. whether Plaintiffs and the Class are entitled to an award

            of reasonable attorneys’ fees, interest, and costs of suit.

      25.   Typicality. Plaintiffs’ claims are typical of the claims of

the Class members because, inter alia, all Class members have been

deceived (or were likely to be deceived) by Home Depot’s false and de-

ceptive price advertising scheme, as alleged herein. Plaintiffs are ad-

vancing the same claims and legal theories on behalf of themselves and

all Class members.

      26.   Adequacy. Plaintiffs will fairly and adequately protect the

interests of the members of the Class. Plaintiffs have retained counsel

experienced in complex consumer class action litigation, and Plaintiffs

intend to prosecute this action vigorously. Plaintiffs have no antagonis-

tic or adverse interest to those of the Class.

      27.   Superiority. The nature of this action and the nature of

laws available to Plaintiffs and the Class make the use of the class ac-

tion format a particularly efficient and appropriate procedure to afford


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relief to them and the Class for the wrongs alleged. The damages or

other financial detriment suffered by individual Class members is rel-

atively modest compared to the burden and expense that would be en-

tailed by individual litigation of their claims against Home Depot. It

would thus be virtually impossible for Plaintiffs and Class members, on

an individual basis, to obtain effective redress for the wrongs done to

them. Absent the class action, Class members and the public would not

likely recover, or would not likely have the chance to recover, damages,

restitution, or injunctive relief, and Home Depot will be permitted to

retain the proceeds of its fraudulent and deceptive misdeeds.

      28.   All Class members, including Plaintiffs, were exposed to

one or more of Home Depot’s misrepresentations or omissions of mate-

rial fact in advertising false reference prices. Due to the scope and ex-

tent of Home Depot’s consistent false sale prices, advertising scheme,

disseminated in a constant years-long campaign to consumers, it can be

reasonably inferred that such misrepresentations or omissions of mate-

rial fact were uniformly made to all members of the Class. In addition,

it can be reasonably presumed that all members of the Class, including

Plaintiffs, affirmatively acted in response to the representations con-

tained in Home Depot’s false advertising scheme when purchasing

products sold through Home Depot’s e-commerce website.


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      29.   Ascertainability. Home Depot keeps extensive records of

its customers through their online sales data, as well as through, inter

alia, general marketing programs. Home Depot has one or more data-

bases through which all, or a significant majority of, Class members

may be identified and ascertained, and they maintain contact infor-

mation, including email and home address, through which notice of this

action could be disseminated in accordance with due-process require-

ments.

      VI.   Causes of Action

      30.   Plaintiffs hereby bring the following causes of action

against Home Depot. All the preceding allegations are incorporated into

each cause of action as if fully restated therein.

                        COUNT ONE
 VIOLATION OF GEORGIA FAIR BUSINESS PRACTICES ACT (“FBPA”)
                     O.C.G.A. § 10-1-393

      31.   Plaintiffs bring this claim individually and on behalf of the

members of the proposed Class against Home Depot for violations of the

Georgia Fair Business Practices Act (“FBPA”).7

      32.   Plaintiffs bring this action as members of the consuming

public who have suffered damages because of Home Depot’s deceptive



      7 O.C.G.A. § 10-1-393.




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acts and practices. These practices have had and have the potential to

have a harmful effect on the general consuming public.

       33.   Under the FBPA, unfair or deceptive acts or practices in

the conduct of consumer transactions and consumer acts or practices in

trade or commerce are unlawful.

       34.   Home Depot is an entity that can be sued under the FBPA.

       35.   The Plaintiffs, and the members of the proposed Class, are

natural persons and thus “consumers” within the meaning of the stat-

ute.

       36.   Plaintiffs have satisfied the statute’s demand requirement.

       37.   Home Depot’s false-reference pricing scheme described

above is a practice intended to encourage consumer transactions—i.e.,

the sale of goods for household purposes—and is thus a “consumer act

or practice” within the meaning of the statute.

       38.   The FBPA provides a list of deceptive trade practices giving

rise to liability under the statute, but also provides that the scope of

unfair and deceptive trade practices under the statute is not limited to

the specific practices listed. Home Depot’s false-reference pricing

scheme described above violates at least one of the specifically prohib-

ited practices because, in perpetrating this scheme, Home Depot has

repeatedly “ma[de] false or misleading statements concerning the


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reasons for, existence of, [and] amounts of price reductions.”8 In addi-

tion, by perpetrating the false-reference pricing scheme described

above, Home Depot engaged in a course of deceptive trade practices un-

der the statute’s general definition of such practices.9

      39.   Home Depot engaged in the deceptive false-reference pric-

ing scheme described above intentionally, motivated by its desire to in-

crease its sales and artificially inflate the prices of its products at the

expense of consumers.

      40.   Home Depot’s deceptive false-reference pricing scheme did

in fact artificially inflate the prices of its products and thereby caused

financial damage to the Plaintiffs and the members of the proposed

Class.

      41.   Home Depot continues to engage in false-reference pricing

as of the date of the filing of this Complaint.

      VII. Relief Sought

      42.   Plaintiffs, on behalf of themselves and all other members of

the proposed Class, request that the Court award relief against Home

Depot as follows:




      8 O.C.G.A. § 10-1-393(b)(11).

      9 Id. § 10-1-393(a).




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     a. An order certifying the Class and designating Plaintiffs as

        the Class Representatives and their counsel as the Class

        Counsel;

     b. An award of actual, statutory, and punitive damages to the

        Plaintiffs and the members of the Class, including triple

        damages as authorized by statute in light of Home Depot’s

        intentional conduct as described herein;

     c. An award of declaratory and injunctive relief, as permitted

        by law or equity, enjoining Home Depot from continuing the

        unlawful practices described herein, and directing Home

        Depot to identify, with Court supervision, victims of its mis-

        conduct and compensate them for the damages suffered;

     d. An order directing Home Depot to engage in a corrective

        advertising and notice campaign;

     e. An award of attorneys’ fees and costs, and;

     f. Such other and further relief as the Court may deem nec-

        essary or appropriate.

  VIII. Demand for Jury Trial

  43.   Plaintiffs demand a jury trial for all the claims so triable.




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                                   APPENDIX 1

25.3 cu. ft. Side by Side Refrigerator in Fingerprint Resistant
Stainless Steel, Standard Depth                                   Original Price - $1799
Date           Discount Price
12/25/23       $1,198
12/19/2023 $1,198
12/13/2023 $1,198
12/3/2023      $1,198
10/31/2023 $1,198
10/23/2023 $1,198
10/14/2023 $1,198
9/29/2023      $1,198
9/22/2023      $1,198
9/5/2023       $1,098
8/21/2023      $1,098
7/31/2023      $1,198
7/24/2023      $1,198

4.5 cu. ft. High-Efficiency Front Load Washer with Self-Clean+ in
Brushed Black                                                     Original Price - $999
Date           Discount Price
12/25/23       $628
12/12/2023 $628
12/5/2023      $628
11/29/2023 $548
11/22/2023 $598
11/15/2023 $628
11/8/2023      $628
10/17/2023 $628
10/10/2023 $628
10/3/2023      $628
9/28/2023      $628
9/21/2023      $628
9/14/2023      $628
9/7/2023       $628


24 in. Fingerprint Resistant Stainless Steel Top Control
Dishwasher                                                        Original Price - $829
Date         Discount Price
12/27/23     $611
12/19/2023 $448
12/12/2023 $448
12/5/2023    $398
11/28/2023 $398
11/21/2023 $398
11/14/2023 $398
11/7/2023    $398
10/31/2023 $398
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18.7 cu. ft. Bottom Freezer Refrigerator in Stainless Steel    Original Price - $648
Date          Discount Price
12/25/23      $648
12/18/23      $648
12/11/2023 $648
11/27/2023 $678
11/20/2023 $678
11/13/2023 $678
11/7/2023     $678

1.7 cu. ft. Over the Range Microwave in Stainless Steel with
Electronic Touch Controls                                      Original Price - $399
Date          Discount Price
12/26/23      $359
12/19/2023 $228
12/12/2023 $228
12/5/2023     $198
11/28/2023 $198
11/21/2023 $198
11/14/2023 $198
11/7/2023     $198
11/1/2023     $198

5.0 cu. ft. High-Efficiency Smart Diamond Gray Top Load
Washer with Microban Technology, ENERGY STAR                   Original Price - $999
Date           Discount Price
12/25/23       $698
12/12/2023 $698
12/5/2023      $628
11/29/2023 $628
11/22/2023 $628
11/15/2023 $628
11/8/2023      $628
11/1/2023      $628
10/19/2023 $698
10/12/2023 $698
10/5/2023      $698
9/28/2023      $698
9/21/2023      $698
9/14/2023      $698
9/7/2023       $698
8/31/2023      $698

36 in. Smart Induction Touch Control Cooktop in Black with 5
Elements                                                       Original Price - $2665
Date         Discount Price
12/26/23     $2,098
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12/18/2023    $2,098
12/11/2023    $2,098
12/5/2023     $1,998
11/28/2023    $1,998
11/21/2023    $1,998
11/14/2023    $1,998
11/7/2023     $1,998
10/31/2023    $2,098


30 in. 5.0 cu. ft. Freestanding Gas Range in Stainless Steel with
Griddle                                                             Original Price - $949
Date           Discount Price
12/25/23       $648
12/19/2023 $648
12/12/2023 $648
12/4/2023      $648
11/28/2023 $648
11/21/2023 $648
11/14/2023 $648
11/7/2023      $648
11/1/2023      $648
9/29/2023      $648
9/22/2023      $648
9/15/2023      $648
9/8/2023       $648
9/1/2023       $648
8/25/2023      $648

36 in. Smart Induction Touch Control Cooktop in Black with 5
Elements                                                            Original Price - $2665
Date         Discount Price
12/26/23     $2,098
12/18/2023 $2,098
12/11/2023 $2,098
12/5/2023    $1,998
11/28/2023 $1,998
11/21/2023 $1,998
11/14/2023 $1,998
11/7/2023    $1,998
10/31/2023 $2,098
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Dated: April 4, 2024

Respectfully submitted,




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                CERTIFICATE OF COMPLIANCE

     Pursuant to Local Rule 7.1(D), the undersigned certifies that this

document has been prepared in Century Schoolbook 13-point font in

accordance with Local Rule 5.1(C).

     This 4th day of April, 2024.

                                             /s/ Meredith C. Kincaid
                                             Meredith C. Kincaid
                                             Georgia Bar No. 148549




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